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         Case23-03141
              23-03141 Document
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                                                        12/19/24 Page
                                                                  Page11ofof22
                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                    November 18, 2024
                       IN THE UNITED STATES BA NKRUPTCY COURT
                                                                                     Nathan Ochsner, Clerk
                         FOR THE SOUTHERN DISTRICT OF TEXA S
                                  HOUSTON DIVISION

IN RE:                                             §
                                                   §
HOUSTON REA L ESTATE PROPERTIES,                   §          CA SE NO. 22-32998
LLC,                                               §              (Chapter 7)
     Debtor.                                       §

JOHN QUINLAN, OMA R KHAWAJA,                       §
A ND OSAMA ABDULLATIF,                             §
          Plaintiffs,                              §          A DVERSARY NO. 23-03141
                                                   §
V.                                                 §
                                                   §
HOUSTON REA L ESTATE PROPERTIES,                   §
LLC, et al.,                                       §
             Choudhri Defendants.                  §


        ORDER GRANTING MOTION FOR SANCTIONS AGAINST DEFENDANT,
                         SHAHNAZ CHOUDHRI


         The Court has carefully considered the Motion (Doc. No. 326) and is of the opinion that

it should be granted. The Court finds that:

         On October 11, 2024, the Court issued an Order that warned the parties that failure to

participate in discovery without good cause will lead to sever [sic] sanctions, the striking of

pleadings and the entry of appropriate orders." [Docket Item No. 221].

         On October 21, 2024, the Court entered an Order requiring Ms. Choudhri to appear for

deposition on November 8, 2024, at 11 :00 am in the Attorney Lounge at the Federal Courthouse

in Houston, Texas. [Docket Item No. 250].

         Ms. Choudhri violated the Court's Order without good cause by failing to appear for her

deposition. The Court further finds that the violation was done willfully by Shahnaz Choudhri

and that such action has caused substantial prejudice to Plaintiffs.
                                                                                           EXHIBIT
4893-1222-5274, V. 1
                                                                                                 1
        Case
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                                                        12/19/24 Page
                                                                  Page22ofof22




          The Court further finds that lesser sanctions have been attempted but did not achieve the

desired deterrent for Shahnaz Choudhri to violate the Court's Orders.

          THEREFORE, all respective pleadings in this matter for Shahnaz Choudhri shall be

struck from this Court's record as if never filed and the Court issues a Default Judgment against

Shahnaz Choudhri such that all allegations made in the complaint are admitted by her.

Shahnaz Choudhri may seek to vacate----
                                      this order [by motion] by scheduling and appearing at a
deposition not later than November 25, 2024 and responding to all questions propounded to her
without objection.




                         November
                          April 04, 18,
                                    20182024          JEFFREY P. NORMAN
                                                      UNITED STATES BANKRUPTCY JUDGE
                                                      PRESIDING




4893-1222-5274, V. 1
